       Case 2:14-cv-02276-JAR-JPO Document 1 Filed 06/09/14 Page 1 of 17




                                IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF KANSAS

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                                                            )
                                                            )
                                                            )
(Enter above the full       n~e   of the Plaintiff(s)       )
                                                            )
VS.                   .
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                                                            )
                                                                Case Number:   [Jf...CV- 2Jv1(? JtJ£/Jpo
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N~e                                                         )
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Street and number                                           )
 kfiN.s es t~        iy KS £6/() 1-2 "/t) 9                 )
City                State            Zip Code               )

(Enter above the full n~e and address of the
Defendant in this action - list the name and
address of any additional defendants on the back
side ofthis sheet).

                                            CIVIL COMPLAINT

I.          Parties to this civil action:

            (In item A below, place your name in the first blank and place your present address in the
            second blank. Do the same for additional plaintiffs, if any, on the back side of this sheet).

            A.      Name of plaintiff       £~/ .r:/Arlley f11oKf:J-&w ~
                    Address    73J5 Ce;nt/d k,zy Sl.                             /}AJa,·e     J/·/J4&zP
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      Case 2:14-cv-02276-JAR-JPO Document 1 Filed 06/09/14 Page 2 of 17




       (In item B below, write the full name of the defendant in the first blank In the second
       blank, write the official position of the defendant. Use item C for the names and positions
       of any additional defendants).

       B.      Defendant._ _-__,~Lie._~'-'.S::u..<_,._._L~c_.A,____,_,£=o=d.a_·L_r_....ef't}1-'e..__..z~_ _ _ _ _ _ _ _ _ Is

              employed at           /{C. Kf?/2
                    af'       Fe/oN1'e<i

       C.     Additional Defendants              J)elc~cl,-ve        fl1eNo/ez
                    kckPP

II.    Jurisdiction:

       (Complete one or more ofthe following subparagraphs, A., B.l, B.2., or B.3., whichever
       is applicable.)

       A.     (If Applicable) Diversity of citizenship and amount:

               1.       Plaintiff is a citizen of the State of KllNrtK

              2.        The first-named defendant above is either

                        a.        a citizen ofthe State of K14NSIJ5'                    ; or


                        b.      a corporation incorporated under the laws of the State of
                        - - - - - - and having its principal place of business in a State other
                        than the State of which plaintiff is a citizen.

              3.        The second-named defendant above is either

                        a.        a citizen of the State of kaN"fA.S                     ; or

                        b.      a corporation incorporated under the laws of the State of
                        _ _ _ _ _ _ and having its principal place of business in a State
                        other than the State of which plaintiff is a citizen.

              (If there are more than two defendants, set forth the foregoing infonnation for

                                                          2
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               each additional defendant on a separate page and attach it to this complaint.)

               Plaintiff states that the matter in controversy exceeds, exclusive of interest and
               costs, the sum of seventy-five thousand dollars ($75,000.00).

        B.     (If applicable) Jurisdiction founded on grounds other than diversity (Check any
               of the following which apply to this case).

                       1.      This case arises under the following section of the Constitution of
                               the United States or statute ofthe United States (28 U.S.C. §1331):
                               Constitution, Article_ _ , Section_ _
                               Statute, US Code, Title_ _ , Section_ _ .

               _J_2.           This case arises because of violation of the civil or equal rights,
                               privileges, or immunities accorded to citizens of, or persons within
                               the jurisdiction of, the United States (28 U.S. C. § 1343).

                      3.       Other grounds (specify and state any statute which gives rise to
                               such grounds):

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III.    Statement of Claim:

        (State here a short and plain statement of the claim showing that plaintiff is entitled to
        relief. State what each defendant did that violated the right(s) of the plaintiff, including
        dates and places of such conduct by the defendant(s ). Do not set forth legal arguments.
        If you intend to allege more than one claim, number and set forth each claim in a separate
        paragraph. Attach an additional sheet, if necessary, to set forth a short and plain
        statement of the claim[ s].)

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                      ON      /f.CJ 6AA'o.v              k S II.      :21~   3ar;1_


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       Case 2:14-cv-02276-JAR-JPO Document 1 Filed 06/09/14 Page 4 of 17




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IV.     Relief:

        (State briefly exactly what judgement or relief you want from the Court. Do not make
        legal arguments.)

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V.      Do you claim the wrongs alleged in your complaint are continuing to occur at the present
        time? Yes [v:f No [ )

VI.     Do you claim actual damages for the acts alleged in your complaint?        Yes [" No [ )

VII.    Do you claim punitive monetary damages? Yes           rvf   No [ )

        If you answered yes, state the amounts claimed and the reasons you claim you are
        entitled to recover money damages.

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        Case 2:14-cv-02276-JAR-JPO Document 1 Filed 06/09/14 Page 5 of 17




VIII.    Administrative Procedures:

         A.     Have the claims which you make in this civil action been presented throu_ph any
                type of Administrative Procedure within any government agency? Yes [ VJ No [ ]

         B.     If you answered yes, give the date your claims were presented, how they
                were presented, and the result of that procedure:

                  (lidt?~MI C,oad/N&In:l.V aAJd L'onp/,'n,uc. e C'JtJl.£.& Iri-s Sec-ha"-'
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         C.     If you answered no, give the reasons, if any, why the claims made in this action
                have not been presented through Administrative Procedures:




IX.      Related Litigation:

         Please mark the statement that pertains to this case:

                         This cause, or a substantially equivalent complaint, was previously filed in
                                                        :3
                         this court as case number J ·~ ~0 ~ t/       and assigned to the
                         Honorable Judge      /(/..J V I P;;[W
                                                         (


                         Neither this cause, nor a substantially equivalent complaint, previously
                         has been filed in this court, and therefore this case may be opened as an
                         original proceeding.




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                                                             f2teaf       SI-Avvley MtJ/f:JdN
                                                         Name (Pnnt or Type)



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      Case 2:14-cv-02276-JAR-JPO Document 1 Filed 06/09/14 Page 6 of 17




                                                          Telephone Number


                           DESIGNATION OF PLACE OF TRIAL



Plaintiff designates (Wichita,       ~as    9i)      or      Topeka), Kansas as the location for the
                                 (eire e one location)
trial in this matter.


                                                            ~~/)_
                                                          Signature of Plaintiff


                                 REQUEST FOR TRIAL BY JURY



Plaintiff requests trial by jury@ or no).
                               (circle one)



                                                          Signature of Plaintiff

Dated: - - - -
(Rev. 8/07)




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                                               Case 2:14-cv-02276-JAR-JPO Document 1 Filed 06/09/14 Page 7 of 17
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                                                                   Case 2:14-cv-02276-JAR-JPO Document 1 Filed 06/09/14 Page 8 of 17



                    THANK YOU FOR SHOPPING
                                        WITH US AT




             WE APPRECIATE YOUR BUSINESS




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                                       Case 2:14-cv-02276-JAR-JPO Document 1 Filed 06/09/14 Page 9 of 17

ROBERT S MORGAN                                                                                          September 23, 201


                                                                                                                              ~JI'.
00103385268



                                                THIS IS NOT I A BILL                                                  HEALTH"~
                                                                                                                             K a n s a        S·
                                              EXPLANATION OF SERVICES DENIEil> IN THE LAST 30 DAYS
                                                                                                                             Units
. ·First Date     Last Date                                                                                                  Denied
       of            of                                                                                           Billed      · or     Denial
   Service         Service       Claim Number      Provider Name               S~rvice   Description .            Amount     Cutback   Reason
09/12/2012       09/12/2012     2112263000018     UNIFIED GOVERNMENT OF WYA   AMBILANCE SERVICE, ADVANCED LI      787.50       1. 0    BXOO
09/12/2012       09/12/2012     2112263000018     UNIFIED GOVERNMENT OF WYA   ALS MILEAGE (PER MILE)               83.34       9.0     BXOO




                                                           DENIAL REASON DEfiNITIONS
 Denial
 Reason Explanation
  BXOO          Service reduced or denied.·
                This service is not covered for the diagnosis billed.
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                                                MARUCHAN RAMEN       NOODL
                                                1 @ 3 FOR             $0.99             $0.33     F
                                                ~1APUCHAN RA~1EN     NOOOL
                                                1 @     3 FOR   $0.99               $0.33         F
                                                ~RRUCHAN RAMEN NOOOL
                                                1 @ 3 FOR       $0.99               $0.33         F
                                                MARUCHAN RAMEN NOODL
                                                1 @ 3 FOR       $0.99               $0.33    F
                                                RAMEN SHRIMP 6-PACK                 $1 '69   F
                                                TOP RAMEN 6 PACKS                   $1 '49 1 F
                                                TOSTITOS SALSA CON Q                $3.69 1 F

                                             ~1EAT



                                               PORK BOSTON BUTT                    $11.93   F
                                               RUMP ROAST                           $9.89   F
                                               SPARE RIBS CRYVC                    $19.53 1 F

                                             SEAFOOD

                                               BST-CH COOKED SHRIMP                 $6 79 1 F
                                               BST-CH COOKED SHRIMP                 $6 79 1 F
                                               SNOW CRAB LEGS CLAWS                $15 99 l F

                                                 BALANCE DUE                      $107. 18
                                                 Food Stamps                       $97. 50
                                                     CSJ **** **** **** 1156
                                                     Seq. # = 006-1"16
                                                 CHANGE                             $0.00

                                                 Total number of items sold         ~    32

                                             TAX-CODE        TAXABLE-VAL        TAX-VALUE
                                             TAX 1                    $0.00         $0.00 1

                                                 FOOD   STAMPS TOTAL              $97.50

                                                 TAX FORGI'JEN                     $9.68


                                             CASHIER NAME: RAVEN
                                             C0010      #0267     19·33.56        12SEP2012
                                                           500179     R003

                                                THANK YOU AND
                                                   COME AGAIN
                                                  TO YOUR FRilNDLY SlORE
                                              HAPPY ~UODS NORTH
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                               POLICE DEPARTMENT
                                  CRIMINAL INVESTIGATION BUREAU
                                                  Victim Services Unit
Assistant Chief Terence Hall                                                                                   Major Vince Davenport
Criminal Investigation Bureau                                                                                 Assistant Bureau Director



       August 31, 2012


       ROBERT MORGAN JR
       3034 N 38TH ST
       KANSAS CITY, KS 66104



       Report Number: 2012091429


       Dear ROBERT MORGAN JR:

       Our office received a police report that indicates that you •.vere the victim of a crime.
       We realize that being a victim of a crime is very traumatic.

       The Victim Services Unit can provide information regarding community services,
       Protection from Stalking orders, counseling, or questions regarding the status of
       your police report. Additionally, we can provide assistance with application to the
       State of Kansas Crime Victims Compensation Fund, which may assist you with
       medical expenses incurred as a result of this criminal incident.

       If the suspect is a juvenile, please contact the Juvenile District Attorney's Office at
       913-573-2851 if you have questions.

       If the suspect is an adult and was arrested, please contact the Municipal Prosecutor's
       Off!Ge at 913-573-5090 !f you have questions.

       If the suspect is an adult, has not been arrested, and you have suspect information,
       please contact Dispute Resolutions at 913-573-5225 to move forward with filing charges.

       Feel free to contact our office for any questions or concerns you may have. You may
       contact us at 913-573-5616.

       Sincerely,

       Victim Services Staff



          700 Minnesota Avenue Kansas City, Kansas 66101-2704 (913) 573-5616 Fax (913) 573-5677



     The Victim Services Unit does not discriminate on the basis of race, color, national origin, religion, sex, disability, and age in
      the delivery of services. To file a complaint alleging discrimination by the Victim Services Unit, you may call the Kansas
                             Human Rights Commission at (785) 296-3206 or toll-free at (888) 793-6874.
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                                   · STATE OF KANSAS
STANTON A. HAZLETT                                                          701 Jackson St
Disciplinary Administrator                                                  1'1 Floor
ALEXANDER WALCZAK                                                           Topeka, Kansas 66603-3729
KIMBERLY L. KNOLL                                                           Telephone: (785) 296-2486
KATE F. BAIRD                                                               Fax: (785) 296-6049
Deputy Disciplinary
Administrators
GAYLE B. LARKIN
Admissions Attorney
                                        OFFICE OF
                             THE DISCIPLINARY ADMINISTRATOR

                                      COMPLAINT FORM

    GENERAL INSTRUCTIONS: Complete the following form in as much detail as possible.
    Provide the attorneys full name. If you wish to complain about more than one attorney,
    complete a separate complaint form for each attorney. If any of the questions do not
    apply to your case, write N/A in the spaces that are not applicable.

   FEE DISPUTES: Please be advised that we do not settle fee disputes. If you are
   disputing the fee paid to your attorney, please contact one of the following Fee Dispute
   Committees: Johnson County Bar Fee Dispute Committee (913) 78Q-5460; Sedgwick
   County Bar Fee Dispute Committee (316) 263-2251; Kansas Bar Association Fee
   Dispute Committee (785) 234-5696.

   PROCEDURE: After the materials are received by the Office of the Disciplinary
   Administrator, an attorney will be assigned to review the documents and supervise the
   investigation of the complaint. You will be kept informed when action occurs regarding
   your complaint.


             Your Name:
          Your Address:
         City, State, Zip:    Prfi r ·· e V.·11A:;z e.    /( S   b &-=d-'--o__,8=-----
      Home Phone No.:
       ·Cell Phone No.:
       Work Phone No.:
         Fax Phone No.:
        E-Mail Address:



      Attorney's Name:
   Attorney's Address:
         City, State, Zip:   /Cf!N 5As   C I !v          /(,ZtVJ"k,f   66 I 0 I~   :Z 7 O 4 ,?
 Attorney's Phone No.:         11 '3- 57        3- d. ?5 I
     Case 2:14-cv-02276-JAR-JPO Document 1 Filed 06/09/14 Page 13 of 17




Did you hire the attorney? Yes--      DNocszj'
                                          ---

      If yes when did you hire the attorney?           q         '-1   ~    g
            'coMf(lt/AJf- riotci._Q                          1


      How much did you pay thhe atktorn~~t~~r;:t~~~e~g~ee~ents, and engagement .
                                                     f es? Please attach a copy of
      any receipts, cancelled c ec s, c       '
      letters.




     If no, what .1s your connec·t·to n with the attorney? Please explain briefly.




       WAs          rrDc.e~weO<_
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-----------------------------------------------
           Case 2:14-cv-02276-JAR-JPO Document 1 Filed 06/09/14 Page 14 of 17




     Is your complaint about a law suit or a criminal case? Yes   ~NoD
            If yes, what is the name of the court? For example, the Kansas Supreme Court,
            the District Court of Shawnee County, Kansas, the Municipal Court of Topeka,
            Kansas.


            What is the title of the case? For example, Jane Smith v. John Doe or State v.
            Smith.


            What is the case number?


           Approximately when was the case filed?


           If you ar~ party to the law suit or the defendant in the criminal case, what is
           your connection with it? Please explain briefly.
       Case 2:14-cv-02276-JAR-JPO Document 1 Filed 06/09/14 Page 15 of 17




 Have you or has a m_ember of your family complained about an attorney in the past?
 Yes .c=J. No~

         If yes, what is the name of the attorney who was the subject of the previous
         complaint?


         Approximately when was the previous complaint filed?
                                          .,Self?    +.
                                                      I 2 - d. a l "'2

         What was the disposition of the previous complaint filed?
          -      &c.e    'I:..J-  j{V+.::.    P,  v\-)~5cl..CM.CAWal.}_.


 FACTUAL STATEMENT: On a separate piece of paper, please prepare a detailed
factual statement of your complaint. State the facts as you understand them. Do not
include opinions or arguments. Include information about the type of case it was, i.e.
divorce, criminal, etc. and when it started. If you employed the attorney also include
how you chose the attorney, when you first met with the attorney, what the fee
agreement was, whether the agreement was written or oral, what has happened so far in
the case, and the last contact you had with the attorney.

Sign and date your statement. Further information may be requested later. Attach
copies of pel linent documents. PLEASE BE ADVISED THAT WE CANNOT RETURN
DOCUMENTS SUBMITTED TO THIS OFFICE. YOU SHOULD RETAIN A COPY OF
ALL MATERIALS YOU SUBMIT.

Please send the completed Complaint Form, your detailed statement of complaint, along
with any pertinent documents to: Office of the Disciplinary Administrator, 701 Southwest
Jackson, First Floor, Topeka, Kansas 66603.



 1/-(S-d.o I ?t
Date                                 Complainant's Signature
          Case 2:14-cv-02276-JAR-JPO Document 1 Filed 06/09/14 Page 16 of 17
                                                                            Page 1 of2




                                   THE UNIVERSIT't'
                                 OF KANSAS HOSPITAL
   Emergency Dept.
   3901 Rainbow Blvd.
   KANSAS CITY KS 66160
   Phone: 913-588-6500
   Fax: 913-588-6503

 Morgan Jr, Robert 5                                       Department: Emergency Dept.
 MRN: 1247956                                              Date of Visit: 9/12/12
Diagnoses
  Head injury, unspecified                                             959.01
   Laceration                                                          879.8
  Abrasion                                                             919.0
  You were seen by Chad M Cannon, MD.
Allergies
   HYOSCAMINE, PCN
EO Prescriptions
                                                                     Start
   ~Jledication                            Sig              Dispense Date      End Date Auth. Provider
   Bacttracm 500 unit/g Oint               Apply to         1 Tube   9/13/2012          Chad M Cannon,
                                           laceration in                                MD
                                           armpit snd
                                           abrasions
                                           twice daily

Follow-up Information
  Follow up with Family Medicine Opt Ku. Make an appointment in 1 week.
  Contact information:
     3901 Rainbow Blvd
     Kansas City Kansas 66160
    913-588-1227


Discharge Instructions
  You need to wash your laceration and abrasions twice daily with soap and water and then apply bacitracin
   over the wounds twice daily. Keep the wounds covered with a dressing. If you develop evidence of infection
   (redness, warm to touch, fevers, increased pain), you need to return to the ED or follow up with your primary
   care provider. Return to the ED for any concerning symptom.
Discharge References/Attachments
   LACERATION CARE (ENGLISH)
  TRAUMATIC BRAIN INJURY (ENGLISH)


MAJOR PROCEDURESJTESTS PERFORMED
  Orders Placed This Encounter
  CT HEAD W/0 CONTRAST
  SHOULDER, LEFT, MIN TWO VIEWS
  CT SPINE CERVICAL W/0 CONTRAST
  CT CHEST W/CONTRAST


Additional Information



                           Printed by HUNTER, JEREMY [JHUNTER090826] at 9/13/2012 1:03:02 AM
                                     Case 2:14-cv-02276-JAR-JPO Document 1 Filed 06/09/14 Page 17 of 17

ROBERT S MORGAN
00103385268


                                              THIS IS NOTIA BILL
                                                                                                      October 23, 2012

                                                                                                                         ,w,.
                                                                                                                   HEALTH,,', )''\.:< :
                                                                                                                      Kan s a s
                                            EXPLANATION OF SERVICES DENIED IN THE LAST 30 DAYS
                                                                                                                         Units
 First Date     Last Date                                                                                                Denied
     of            of                                                                                          Billed      or      Denial
 Service         Service      Claim Number         Provider Name           Service Description                 Amount    Cutback   Reason
09/13/2012     09/13/2012     6012289000011    UNIV OF KANS MED CTR OPD   LOCM 300-399MG/ML IODINE, l!JIL       63.50    100.0     B091




                                                          DENIAL REASON DEFINITIONS
 Denial
 Reason Explanation
  B091        This service not covered by
              Kansas Medical Assistance Program.
